                            Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 1 of 50
B1 (Official Form 1) (04/13)
                                                   United States Bankruptcy Court
                                                  SOUTHERN DISTRICT OF TEXAS                                                                                     Voluntary Petition
                                                        HOUSTON DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Moufarej, George Hanna                                                                               Demian, Dolly Nadia

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
dba CAJ Auto Finance; fdba CJ Auto Finance; fdba CNJ Auto                                            fdba C & J Auto Finance; aka Dolly Dimian
Finance; aka George Hanna Mufarige

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-7343                                                                than one, state all):     xxx-xx-5617
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
16131 Stewarts Grove Dr.                                                                             16131 Stewarts Grove Dr.
Spring, TX                                                                                           Spring, TX
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            77379                                                                                           77379
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Harris                                                                                               Harris
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.5.1, ID 3611686625)
                           Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 2 of 50
B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    George Hanna Moufarej
                                                                                                                  Dolly Nadia Demian
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:


Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X
                                                                                                                                                                        Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.5.1, ID 3611686625)
                          Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 3 of 50
B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     George Hanna Moufarej
                                                                                                                    Dolly Nadia Demian
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X /s/ George Hanna Moufarej
      George Hanna Moufarej
                                                                                             X
       /s/ Dolly Nadia Demian                                                                    (Signature of Foreign Representative)
 X Dolly Nadia Demian
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     4/30/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X /s/ Patrick T. Williams                                                                   defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Patrick T. Williams                              Bar No. 00789729                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Patrick T. Williams, Attorney at Law
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 4422 F.M. 1960 W., Suite 412                                                                given the debtor notice of the maximum amount before preparing any document
 Houston, TX 77068                                                                           for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (281) 587-2823
 Phone No.______________________        (281) 537-9025
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     4/30/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.5.1, ID 3611686625)
                  Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 4 of 50
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   George Hanna Moufarej                                                           Case No.
         Dolly Nadia Demian                                                                                   (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                  Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 5 of 50
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   George Hanna Moufarej                                                        Case No.
         Dolly Nadia Demian                                                                                (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ George Hanna Moufarej
                       George Hanna Moufarej

Date:        4/30/2015
Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 6 of 50
                  Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 7 of 50
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   George Hanna Moufarej                                                           Case No.
         Dolly Nadia Demian                                                                                   (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                  Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 8 of 50
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   George Hanna Moufarej                                                        Case No.
         Dolly Nadia Demian                                                                                (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Dolly Nadia Demian
                       Dolly Nadia Demian

Date:        4/30/2015
Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 9 of 50
                   Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 10 of 50
B6A (Official Form 6A) (12/07)



In re George Hanna Moufarej                                                 Case No.
      Dolly Nadia Demian                                                                                          (if known)



                                        SCHEDULE A - REAL PROPERTY


                                                                                                               Current Value




                                                                                     Husband, Wife, Joint,
                                                                                                                of Debtor's
                   Description and                         Nature of Debtor's




                                                                                       or Community
                                                                                                                 Interest in
                     Location of                          Interest in Property
                                                                                                             Property, Without    Amount Of
                      Property                                                                                                   Secured Claim
                                                                                                              Deducting Any
                                                                                                              Secured Claim
                                                                                                               or Exemption


 house: 16131 Stewarts Grove Dr. Spring, TX 77379   fee simple                          C                        $438,151.00       $110,873.00
 Legal Description:
 TRS 37 & 3A Block 6
 Champion Forest Section 7




                                                                                 Total:                          $438,151.00
                                                                                 (Report also on Summary of Schedules)
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 11 of 50
B6B (Official Form 6B) (12/07)




In re George Hanna Moufarej                                                                  Case No.
      Dolly Nadia Demian                                                                                       (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                    Husband, Wife, Joint,
                                                                                                                                            Current Value of
                                                                                                                                            Debtor's Interest




                                                                                                                      or Community
                                                                                                                                               in Property,

             Type of Property             None                  Description and Location of Property
                                                                                                                                            Without Deducting
                                                                                                                                              any Secured
                                                                                                                                                 Claim or
                                                                                                                                                Exemption

1. Cash on hand.                                 cash                                                                     C                         $203.00



2. Checking, savings or other finan-             checking account no. xxxx9639                                            C                         $488.00
cial accounts, certificates of deposit           JPMorgan Chase Bank, N.A.
or shares in banks, savings and loan,            Name on account: Dolly N. Demian
thrift, building and loan, and home-
stead associations, or credit unions,            checking account no. xxxx7429                                            C                         $789.00
brokerage houses, or cooperatives.               Wells Fargo Bank
                                                 name on account: CAJ Auto Finance
                                                 (Debtor is an authorized user of account)



3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              sofas (2) $200; televisions (2) $125; DVD player $10;                    C                       $2,925.00
including audio, video and computer              VCR $5; coffee tables (2) $60; lamps (2) $30;
equipment.                                       dining room table & chairs $150; microwave oven $25;
                                                 kitchen table & chairs $80; refrigerator $200;
                                                 dresser $50; nightstands (2) $25; mirror $20; bed $100;
                                                 bedroom suites (2) $500; patio furniture $75;      washer &
                                                 dryer $125; piano $200; movies $20;        music $15;
                                                 crystal $200; cookware $100; linens $50;
                                                 small kitchen appliances $50; vacuum cleaner $20;
                                                 dishes/china/flatware $100; leaf blower $30;
                                                 computer, monitor, printer $200; laptop computer $100;
                                                 hand tools $10
                                                 cell phones (2) $100


5. Books; pictures and other art                 pictures/wall hangings (6)                                               C                          $90.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              clothes - husband:                                                       C                         $200.00
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 12 of 50
B6B (Official Form 6B) (12/07) -- Cont.




In re George Hanna Moufarej                                                                    Case No.
      Dolly Nadia Demian                                                                                        (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 1




                                                                                                                     Husband, Wife, Joint,
                                                                                                                                             Current Value of
                                                                                                                                             Debtor's Interest




                                                                                                                       or Community
                                                                                                                                                in Property,

             Type of Property              None                   Description and Location of Property
                                                                                                                                             Without Deducting
                                                                                                                                               any Secured
                                                                                                                                                  Claim or
                                                                                                                                                 Exemption

                                                  suits, ties, shirts, pants, shoes, belts, coats

                                                  clothes - wife:                                                          C                         $600.00
                                                  suits, dresses, skirts, shirts, pants, belts, shoes, coats;
                                                  purses


7. Furs and jewelry.                              jewelry - wife:                                                          C                          $70.00
                                                  watches (2) $50; misc. costume jewelry $20


8. Firearms and sports, photo-                    treadmill exercise machine                                               C                         $100.00
graphic, and other hobby equipment.

9. Interests in insurance policies.               Allstate Life Insurance policy no. xxxx8161                              C                         $875.00
Name insurance company of each
policy and itemize surrender or                   Jackson National Life Insurance policy no. xxxx0457                      C                       $4,376.00
refund value of each.                             (Cash value $57,411 less loan balance $53,037)

                                                  Met Life Insurance plocy no. xxxx64UM                                    C                         $941.00



10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,               Individual Retirement Account owned by joint debtor and                  C                      $33,400.00
or other pension or profit sharing                administered by Ameritrade
plans. Give particulars.
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 13 of 50
B6B (Official Form 6B) (12/07) -- Cont.




In re George Hanna Moufarej                                                                 Case No.
      Dolly Nadia Demian                                                                                       (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 2




                                                                                                                    Husband, Wife, Joint,
                                                                                                                                            Current Value of
                                                                                                                                            Debtor's Interest




                                                                                                                      or Community
                                                                                                                                               in Property,

             Type of Property               None                 Description and Location of Property
                                                                                                                                            Without Deducting
                                                                                                                                              any Secured
                                                                                                                                                 Claim or
                                                                                                                                                Exemption


13. Stock and interests in incorpo-                CAJ Auto Finance (legal title of business is in name of                C                         $600.00
rated and unincorporated businesses.               Debtors' son, John Mufarrige. Debtor operates the
Itemize.                                           business)
                                                   Business assets:
                                                   Inventory: 6 cars encumbered by security interest held by
                                                   Floorplan Xpress, LLC. (SEE Inventory, Sch B. #30)
                                                   Furniture and Fixtures:
                                                   two tables, office chairs, telephone system, computer


14. Interests in partnerships or joint      X
ventures. Itemize.

15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 14 of 50
B6B (Official Form 6B) (12/07) -- Cont.




In re George Hanna Moufarej                                                               Case No.
      Dolly Nadia Demian                                                                               (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 3




                                                                                                            Husband, Wife, Joint,
                                                                                                                                    Current Value of
                                                                                                                                    Debtor's Interest




                                                                                                              or Community
                                                                                                                                       in Property,

             Type of Property               None                Description and Location of Property
                                                                                                                                    Without Deducting
                                                                                                                                      any Secured
                                                                                                                                         Claim or
                                                                                                                                        Exemption


20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                 2013 BMW 328 with 45,000 miles                                 C                      $25,000.00
and other vehicles and accessories.

26. Boats, motors, and accessories.         X

27. Aircraft and accessories.               X

28. Office equipment, furnishings,          X
and supplies.
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 15 of 50
B6B (Official Form 6B) (12/07) -- Cont.




In re George Hanna Moufarej                                                                   Case No.
      Dolly Nadia Demian                                                                                             (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                               Continuation Sheet No. 4




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None                 Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                       Inventory of CAJ Auto Finance:                                             C                      $41,854.00
                                                     2008 Chevrolet Tahoe $12,154;
                                                     1983 Mercedes Benz 380 Series SL $4,500;
                                                     2004 Mercedes Benz Class SL 600 $10,000;
                                                     2005 Honda Odyssey EX $4,500;
                                                     2007 Toyota Prius $4,700;
                                                     2008 Toyota Prius $6,000



31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any                   Money held by title company upon sale of house in August                   C                       $5,000.00
kind not already listed. Itemize.                    2013. Money was withheld from Debtors due to a judment
                                                     against Debtor. Debtors believe the money was never paid
                                                     to the judgment creditor by the title company. Debtors
                                                     believe that the judgment creditor claims no money is owed
                                                     to it by Debtors.




                                                                          4           continuation sheets attached   Total >                          $117,511.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 16 of 50
B6C (Official Form 6C) (4/13)



In re George Hanna Moufarej                                                                    Case No.
      Dolly Nadia Demian                                                                                            (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 house: 16131 Stewarts Grove Dr. Spring, TX              Const. art. 16 §§ 50, 51, Texas Prop.                $327,278.00             $438,151.00
 77379                                                   Code §§ 41.001-.002
 Legal Description:
 TRS 37 & 3A Block 6
 Champion Forest Section 7

 sofas (2) $200; televisions (2) $125; DVD player        Tex. Prop. Code §§ 42.001(a), 42.002                   $2,925.00               $2,925.00
 $10;                                                    (a)(1)
 VCR $5; coffee tables (2) $60; lamps (2) $30;
 dining room table & chairs $150; microwave
 oven $25;
 kitchen table & chairs $80; refrigerator $200;
 dresser $50; nightstands (2) $25; mirror $20;
 bed $100;
 bedroom suites (2) $500; patio furniture $75;
 washer & dryer $125; piano $200; movies $20;
 music $15; crystal $200; cookware $100; linens
 $50;
 small kitchen appliances $50; vacuum cleaner
 $20;
 dishes/china/flatware $100; leaf blower $30;
 computer, monitor, printer $200; laptop
 computer $100;
 hand tools $10
 cell phones (2) $100

 pictures/wall hangings (6)                              Tex. Prop. Code §§ 42.001(a), 42.002                       $90.00                  $90.00
                                                         (a)(1)




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                              $330,293.00             $441,166.00
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 17 of 50
B6C (Official Form 6C) (4/13) -- Cont.



In re George Hanna Moufarej                                                         Case No.
      Dolly Nadia Demian                                                                             (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 1



                                                                                                                       Current
                                                                                                                  Value of Property
                                                       Specify Law Providing Each          Value of Claimed       Without Deducting
              Description of Property
                                                                Exemption                     Exemption               Exemption



 clothes - husband:                                Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                $200.00
 suits, ties, shirts, pants, shoes, belts, coats   (a)(5)

 clothes - wife:                                   Tex. Prop. Code §§ 42.001(a), 42.002             $600.00                $600.00
 suits, dresses, skirts, shirts, pants, belts,     (a)(5)
 shoes, coats; purses

 jewelry - wife:                                   Tex. Prop. Code §§ 42.001(a), 42.002              $70.00                 $70.00
 watches (2) $50; misc. costume jewelry $20        (a)(6)

 treadmill exercise machine                        Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                $100.00
                                                   (a)(7)

 Allstate Life Insurance policy no. xxxx8161       Tex. Ins. Code §§ 1108.001, 1108.051             $875.00                $875.00

 Jackson National Life Insurance policy no.        Tex. Ins. Code §§ 1108.001, 1108.051           $4,376.00              $4,376.00
 xxxx0457
 (Cash value $57,411 less loan balance
 $53,037)

 Met Life Insurance plocy no. xxxx64UM             Tex. Ins. Code §§ 1108.001, 1108.051             $941.00                $941.00

 Individual Retirement Account owned by joint      Tex. Prop. Code § 42.0021                     $33,400.00             $33,400.00
 debtor and administered by Ameritrade

 2013 BMW 328 with 45,000 miles                    Tex. Prop. Code §§ 42.001(a), 42.002             $444.00             $25,000.00
                                                   (a)(9)




                                                                                                $371,299.00            $506,728.00
                   Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 18 of 50
B6D (Official Form 6D) (12/07)
          In re George Hanna Moufarej                                                                                       Case No.
                 Dolly Nadia Demian                                                                                                                      (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                       AMOUNT OF         UNSECURED




                                                                                                                                     UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                         CLAIM           PORTION, IF




                                                                                                                                      CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                       DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                         WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                       DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                           VALUE OF
                                                                                             PROPERTY SUBJECT                                       COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #: xxxxxxxxx3176                                                             NATURE OF LIEN:
                                                                                  Purchase Money
Capital One Auto Finance                                                          COLLATERAL:
                                                                                  2013 BMW 328                                                         $24,556.00
3901 Dallas Pkwy                                              J                   REMARKS:
Plano, TX 75093-7864



                                                                                  VALUE:                               $25,000.00
                                                                                  DATE INCURRED:    2015
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Purchase Money
Floorplan Xpress, LLC-OK                                                          COLLATERAL:
                                                                                  inventory, receivables, business assets                              $43,461.00          $1,607.00
4300 Highline Blvd, Suite B330                 X              J                   REMARKS:
Oklahoma City, OK 73108



                                                                                  VALUE:                               $41,854.00
                                                                                  DATE INCURRED:    2007
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Deed of Trust
Wells Fargo Home Mortgage                                                         COLLATERAL:
                                                                                  house: 16131 Stewarts Grove Dr. Spring, TX 77379                   $110,873.00
P.O. Box 10335                                                J                   REMARKS:
Des Moines, IA 50306-0335



                                                                                  VALUE:                              $438,151.00




                                                                                                            Subtotal (Total of this Page) >            $178,890.00           $1,607.00
                                                                                                           Total (Use only on last page) >             $178,890.00           $1,607.00
________________continuation
       No                    sheets attached                                                                                                        (Report also on   (If applicable,
                                                                                                                                                    Summary of        report also on
                                                                                                                                                    Schedules.)       Statistical
                                                                                                                                                                      Summary of
                                                                                                                                                                      Certain Liabilities
                                                                                                                                                                      and Related
                                                                                                                                                                      Data.)
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 19 of 50
B6E (Official Form 6E) (04/13)

In re George Hanna Moufarej                                                                       Case No.
      Dolly Nadia Demian                                                                                                    (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 20 of 50
B6E (Official Form 6E) (04/13) - Cont.
In re George Hanna Moufarej                                                                                               Case No.
      Dolly Nadia Demian                                                                                                                          (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Taxes and Certain Other Debts Owed to Governmental Units




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                              ANY


ACCT #:                                                                          DATE INCURRED: 2013
                                                                                 CONSIDERATION:
Internal Revenue Service                                                         Federal income tax                                   $9,700.00       $9,700.00        $0.00
P.O. Box 7346                                                                    REMARKS:
Philadelphia, PA 19101-7346                                     J



ACCT #:                                                                          DATE INCURRED: 2014
                                                                                 CONSIDERATION:
Internal Revenue Service                                                         Federal income tax                                   $2,863.00       $2,863.00        $0.00
P.O. Box 7346                                                                    REMARKS:
Philadelphia, PA 19101-7346                                     J




Sheet no. __________
               1       of __________
                               1       continuation sheets                                  Subtotals (Totals of this page) >        $12,563.00      $12,563.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                      $12,563.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                   $12,563.00        $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
                   Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 21 of 50
B6F (Official Form 6F) (12/07)
  In re George Hanna Moufarej                                                                                  Case No.
           Dolly Nadia Demian                                                                                             (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                               CLAIM




                                                                                                                                 CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                  DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #: xxxx xxxx xxxx 5032                                                           DATE INCURRED:
                                                                                      CONSIDERATION:
Banana Republic                                                                       Credit Card                                                  $2,458.00
P.O. Box 960017                                                                       REMARKS:
                                                                 J
Orlando, FL 32896-0017



ACCT #: xxxx xxxx xxxx 3198                                                           DATE INCURRED:
                                                                                      CONSIDERATION:
Bank of America                                                                       Credit Card                                                 $27,758.00
P.O. Box 15019                                                                        REMARKS:
                                                                 J
Wilmington, DE 19886-5019



ACCT #: xxxx xxxx xxxx 9378                                                           DATE INCURRED:
                                                                                      CONSIDERATION:
Bank of America                                                                       Credit Card                                                  $7,963.00
P.O. Box 15019                                                                        REMARKS:
                                                                 J
Wilmington, DE 19886-5019



ACCT #: xxxxxx xn 591                                                                 DATE INCURRED:
                                                                                      CONSIDERATION:
Capital One                                                                           Credit Card                                                  $4,238.00
P.O. Box 30285                                                                        REMARKS:
                                                                H
Salt Lake City, UT 84130-0285



ACCT #: xxxx xxxx xxxx 6423                                                           DATE INCURRED:
                                                                                      CONSIDERATION:
Chase                                                                                 Credit Card                                                 $14,860.00
P.O. Box 15298                                                                        REMARKS:
                                                                 J
Wilmington, DE 19850



ACCT #: xxxx xxxx xxxx 8114                                                           DATE INCURRED:
                                                                                      CONSIDERATION:
Chase                                                                                 Credit Card                                                  $5,800.00
P.O. Box 15298                                                                        REMARKS:
                                                                 J
Wilmington, DE 19850



                                                                                                                            Subtotal >             $63,077.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       4                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                    Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 22 of 50
B6F (Official Form 6F) (12/07) - Cont.
  In re George Hanna Moufarej                                                                                       Case No.
           Dolly Nadia Demian                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Comerica Bank                                                                             business loan                                                $45,000.00
2201 Mangum                                                                               REMARKS:
                                                                    H
Houston, TX 77092



ACCT #: xxxx xxxx xxxx xxxx                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Credit One Bank                                                                           Credit Card                                                    $315.00
P.O. Box 98873                                                                            REMARKS:
                                                                     J
Las Vegas, NV 89193



ACCT #: xxxx xxxx xxxx 9076                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Discover                                                                                  Credit Card                                                  $19,570.00
PO Box 30943                                                                              REMARKS:
                                                                     J
Salt Lake City, UT 84130



ACCT #: xxxx xxxx xxxx xxxx                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Discover                                                                                  Credit Card                                                   $4,135.00
PO Box 30943                                                                              REMARKS:
                                                                     J
Salt Lake City, UT 84130



ACCT #: xxxxxxxxxxxxxxxx                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Exxon Mobil                                                                               Credit Card                                                   $1,103.00
Credit Card Center                                                                        REMARKS:
                                                                     J
P.O. Box 688940
Des Moines, IA 50368-8940

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Ghassan Moufarej                                                                          loans used for business                                      $33,000.00
Bichmizzeen El Koura                                                                      REMARKS:
                                                                    H
North Lebanon



Sheet no. __________
              1        of __________
                               4     continuation sheets attached to                                                             Subtotal >            $103,123.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 23 of 50
B6F (Official Form 6F) (12/07) - Cont.
  In re George Hanna Moufarej                                                                                        Case No.
           Dolly Nadia Demian                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                           DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                             INCURRED AND                               CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                  CLAIM.
             (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE.


ACCT #: xx7577                                                                            DATE INCURRED:
                                                                                          CONSIDERATION:
Great Lakes Higher Education Corp.                                                        Student Loan                                                  $29,808.00
2401 International Lane                                                                   REMARKS:
                                                                   W
Madison, WI 53704



ACCT #: xx8581                                                                            DATE INCURRED:
                                                                                          CONSIDERATION:
Great Lakes Higher Education Corp.                                                        Student Loan                                                  $73,179.00
2401 International Lane                                                                   REMARKS:
                                                      X            W
Madison, WI 53704



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Isle of Capri Casino                                                                      loans                                                          $4,500.00
100 Westlake Avenue                                                                       REMARKS:
                                                                    H
Westlake, LA 70669



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
John F. Krus                                                                              business debt to former partner                              $185,000.00
131 Manor Lake Estates Dr.                                                                REMARKS:
                                                                    H
Spring, TX 77379



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
L'Auberge Casino                                                                          loans                                                         $33,000.00
777 Avenue L'Auberge                                                                      REMARKS:
                                                                    H
Lake Charles, LA 70601



ACCT #: xx0319                                                                            DATE INCURRED:
                                                                                          CONSIDERATION:
MB Financial Services                                                                     Auto lease                                                     $1,169.00
36455 Corporate Dr.                                                                       REMARKS:
                                                                     J
Farmington, MI 48331



Sheet no. __________
              2        of __________
                               4     continuation sheets attached to                                                              Subtotal >            $326,656.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 24 of 50
B6F (Official Form 6F) (12/07) - Cont.
  In re George Hanna Moufarej                                                                                          Case No.
           Dolly Nadia Demian                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                   CLAIM




                                                                                                                                         CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:   2011-2014
                                                                                          CONSIDERATION:
Nadia Demian                                                                              loans used primarily for business                              $204,000.00
P.O. Box 1200                                                                             REMARKS:
                                                                     J
Beirut, Lebanon



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Natalie Mufarrige                                                                         loans                                                           $22,000.00
2350 Bagby                                                                                REMARKS:
                                                                    H
Houston, TX 77006                                                                         $15,000 business; $7,000 personal



ACCT #: xxxxxx xx 9115                                                                    DATE INCURRED:
                                                                                          CONSIDERATION:
Portfolio Recovery Associates LLC                                                         Account                                                          $4,309.00
120 Corporate Boulevard                                                                   REMARKS:
                                                                     J
Norfolk, VA 23502



ACCT #: xxxx xxxx xxxx xxxx                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Portfolio Recovery Associates LLC                                                         Account                                                          $2,602.00
120 Corporate Boulevard                                                                   REMARKS:
                                                                     J
Norfolk, VA 23502



ACCT #: xxxx xxxx xxxx 0627                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Stein Mart                                                                                Credit Card                                                      $3,482.00
P.O. Box 960013                                                                           REMARKS:
                                                                     J
Orlando, FL 32896



ACCT #: xxxx xxxx xxxx 5492                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Synchrony Bank                                                                            Credit Card                                                       $889.00
Attn: Bankruptcy Dept.                                                                    REMARKS:
                                                                     J
P.O. Box 965061                                                                           TJX Rewards
Orlando, FL 32896-5061

Sheet no. __________
              3        of __________
                               4     continuation sheets attached to                                                                Subtotal >            $237,282.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 25 of 50
B6F (Official Form 6F) (12/07) - Cont.
  In re George Hanna Moufarej                                                                                      Case No.
           Dolly Nadia Demian                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx4361                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo Bank, N.A.                                                                    Credit Card                                                 $52,541.00
Business Direct Division                                                                  REMARKS:
                                                                     J
MAC #S4101-050
P.O. Box 29482
Phoenix, AZ 85038-8650
ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Wynn Las Vegas, LLC                                                                       loan                                                        $25,000.00
Stacie Michaels                                                                           REMARKS:
                                                                    H
3131 Las Vegas Blvd. South
Las Vegas, NV 89109




Sheet no. __________
              4        of __________
                               4     continuation sheets attached to                                                            Subtotal >             $77,541.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                   $807,679.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 26 of 50
B6G (Official Form 6G) (12/07)
   In re George Hanna Moufarej                                                          Case No.
         Dolly Nadia Demian                                                                             (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.




   Terpstra & Associates                                                 Debtors leased commercial property for operation of auto
   14343 Torrey Chase Blvd., Ste B                                       sales business. Original lease term has expired. Debtor
   Houston, TX 77014                                                     leases on a month to month basis.
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 27 of 50
B6H (Official Form 6H) (12/07)
In re George Hanna Moufarej                                                                        Case No.
      Dolly Nadia Demian                                                                                                   (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR

  Christopher George Moufarej                                                   Great Lakes Higher Education Corp.
  16131 Stewarts Grove Dr.                                                      2401 International Lane
  Spring, TX 77379                                                              Madison, WI 53704



  John P. Muffarige                                                             Floorplan Xpress, LLC-OK
  16131 Stewarts Grove                                                          4300 Highline Blvd, Suite B330
  Spring, TX 77379                                                              Oklahoma City, OK 73108
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 28 of 50

 Fill in this information to identify your case:
     Debtor 1              George               Hanna                  Moufarej
                           First Name           Middle Name            Last Name                         Check if this is:
     Debtor 2              Dolly                Nadia                  Demian                                 An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                              A supplement showing post-petition
     United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS
                                                                                                              chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                              MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                         Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                         Employed
      with information about                                          Not employed                                     Not employed
      additional employers.
                                        Occupation             used car sales - self employed                   tutor - part time
      Include part-time, seasonal,
      or self-employed work.            Employer's name        CAJ Auto Finance                                 self employed

      Occupation may include            Employer's address     15803 Tomball Parkway                            16131 Stewarts Grove
      student or homemaker, if it                              Number Street                                    Number Street
      applies.




                                                               Houston                    TX      77086         Spring                 TX      77379
                                                               City                       State   Zip Code      City                   State   Zip Code

                                        How long employed there?


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                          For Debtor 1            For Debtor 2 or
                                                                                                                  non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                   $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3. +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                $0.00                   $0.00




Official Form B 6I                                            Schedule I: Your Income                                                              page 1
                       Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 29 of 50
Debtor 1 George                                 Hanna                              Moufarej                                           Case number (if known)
            First Name                          Middle Name                        Last Name


                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00                $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                     $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                     $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                     $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                     $0.00
     5e. Insurance                                                                                              5e.                  $0.00                     $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                     $0.00
     5g. Union dues                                                                                             5g.                  $0.00                     $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                     $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                     $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                     $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $4,100.00                     $600.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00                     $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                     $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                              8d.                  $0.00                     $0.00
     8e. Social Security                                                                                        8e.                  $0.00                     $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                     $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                     $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                     $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $4,100.00                     $600.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.           $4,100.00           +         $600.00       =       $4,700.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.             $4,700.00
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                              Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form B 6I                                                                  Schedule I: Your Income                                                                            page 2
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 30 of 50
Debtor 1 George                     Hanna         Moufarej                  Case number (if known)
          First Name                Middle Name   Last Name


8a. Attached Statement (Debtor 1)

                                                        Car Sales

Gross Monthly Income:                                                                                $143,000.00

Expense                                              Category                              Amount
cost of goods sold                                   Cost of Goods Sold              $133,000.00
rent                                                 Rent                              $1,500.00
utilities                                            Utilities                          $700.00
insurance                                                                               $150.00
advertising                                                                             $900.00
misc.                                                                                   $150.00
labor                                                                                  $2,500.00
Total Monthly Expenses                                                                               $138,900.00

Net Monthly Income:                                                                                    $4,100.00




Official Form B 6I                                Schedule I: Your Income                                 page 3
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 31 of 50
Debtor 1 George                     Hanna         Moufarej                  Case number (if known)
          First Name                Middle Name   Last Name


8a. Attached Statement (Debtor 2)

                                                         Tutoring

Gross Monthly Income:                                                                                $600.00

Expense                                              Category                              Amount

Total Monthly Expenses                                                                                 $0.00
Net Monthly Income:                                                                                  $600.00




Official Form B 6I                                Schedule I: Your Income                             page 4
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 32 of 50

 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              George                 Hanna                  Moufarej                            An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Dolly                  Nadia                  Demian
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                      $980.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                   $1,083.00
      4b. Property, homeowner's, or renter's insurance                                                               4b.                     $406.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $200.00

      4d. Homeowner's association or condominium dues                                                                4d.                      $50.00



 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
                    Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 33 of 50
Debtor 1 George                     Hanna                   Moufarej                    Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                   $475.00
     6b. Water, sewer, garbage collection                                                            6b.                   $130.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                   $449.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                    $500.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                    $100.00
10. Personal care products and services                                                              10.

11. Medical and dental expenses                                                                      11.                   $333.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                   $250.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.                  $440.00
     15b.    Health insurance                                                                        15b.                  $355.00
     15c.    Vehicle insurance                                                                       15c.                  $175.00
     15d.    Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                              17a.                  $660.00
     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify:                                                                         17c.

     17d.    Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                             20a.

     20b.    Real estate taxes                                                                       20b.

     20c.    Property, homeowner's, or renter's insurance                                            20c.

     20d.    Maintenance, repair, and upkeep expenses                                                20d.

     20e.    Homeowner's association or condominium dues                                             20e.


 Official Form B 6J                                         Schedule J: Your Expenses                                         page 2
                   Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 34 of 50
Debtor 1 George                   Hanna                    Moufarej                           Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify:                                                                                          21.    +
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.         $6,586.00
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.        $4,700.00
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –    $6,586.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.       ($1,886.00)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                           page 3
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 35 of 50
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
   In re George Hanna Moufarej                                                       Case No.
         Dolly Nadia Demian
                                                                                     Chapter      7



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                $438,151.00


 B - Personal Property                            Yes      5                $117,511.00


 C - Property Claimed                             Yes      2
     as Exempt
 D - Creditors Holding                            Yes      1                                          $178,890.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      2                                           $12,563.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      5                                          $807,679.00
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      4                                                                 $4,700.00
     Individual Debtor(s)

 J - Current Expenditures of                      Yes      3                                                                 $6,586.00
    Individual Debtor(s)

                                             TOTAL         25               $555,662.00               $999,132.00
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 36 of 50
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
   In re George Hanna Moufarej                                                        Case No.
         Dolly Nadia Demian
                                                                                      Chapter       7



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)

 Taxes and Certain Other Debts Owed to Governmental Units
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)

 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
 Obligations (from Schedule F)

                                                            TOTAL

State the following:
 Average Income (from Schedule I, Line 12)

 Average Expenses (from Schedule J, Line 22)

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column

 4. Total from Schedule F

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)
                   Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 37 of 50
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re George Hanna Moufarej                                                            Case No.
      Dolly Nadia Demian                                                                                     (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 27
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 4/30/2015                                               Signature    /s/ George Hanna Moufarej
                                                                         George Hanna Moufarej

Date 4/30/2015                                               Signature     /s/ Dolly Nadia Demian
                                                                          Dolly Nadia Demian
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                      Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 38 of 50
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   George Hanna Moufarej                                                                    Case No.
            Dolly Nadia Demian                                                                                               (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $596,625                    2015 gross receipts CAJ Auto Finance
        $831,759                    2014 gross receipts CAJ Auto Finance
        $ 22,500                    2014 gross commissions Jan - June
        $147,574                    2013 gross commissions from Medford Motors

        $ 2,300                     2015 (YTD) gross income wife- tutoring
        $ 1,800                     2014 gross income wife - tutoring
        $    -0-                    2013 - wife

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $ -0-                       2015 (ytd) gross gambling winnings
        $18,000                     2014 gross gambling winnings
        $36,000                     2013 gross gambling winnings

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                         DATES OF                AMOUNT PAID
                                                                         PAYMENTS/               OR VALUE OF
        NAME AND ADDRESS OF CREDITOR                                     TRANSFERS               TRANSFERS               AMOUNT STILL OWING
        Floorplan Xpress, LLC-OK                                         Feb., March.            $54,873                 $43,461
        4300 Highline Blvd, Suite B330                                   April 2015
        Oklahoma City, OK 73108
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 39 of 50
B7 (Official Form 7) (04/13)                  UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF TEXAS
                                                       HOUSTON DIVISION
   In re:   George Hanna Moufarej                                                                Case No.
            Dolly Nadia Demian                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 1


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                           COURT OR AGENCY                STATUS OR
        CASE NUMBER                                  NATURE OF PROCEEDING             AND LOCATION                   DISPOSITION
        Case No. CV42C5069778                        Plaintiff alleges                In the Justice Court           pending
        Portfolio Recovery Associates,               breach of contract               Precinct 4, Place 2
        LLC                                          and account stated               Harris County, Texas
        Assignee of Capital One Bank
        (USA), N.A.,
        Assignee of HSBC Bank
        Nevada, N.A. (Orchard Bank),
        Plaintiff
        vs.
        George H. Moufarej,
        Defendant

        Case No. A-14-711520-C                       Plaintiff alleges                District Court                 pending
        Wynn Las Vegas, LLC                          breach of contract,              Clark County, Nevada
        d/b/a Wynn Las Vegas,                        conversion, unjust               200 Lewis Avenue
        Plaintiff                                    enrichment, and                  Las Vegas, Nevada
        vs.                                          breach of the                    89155
        George Hanna Moufarej,                       covenant of good faith
        Defendant                                    and fair dealing.

        Cause No. CV41C0212708                       Plaintiff alleges                In the Justice Court           default judgment in
        Capital One Bank (USA), N.A.                 breach of contract,              Harris County, Texas           favor of Plaintiff.
        vs.                                          account stated, and              Precinct 4, Place 1
        George H. Moufarej                           common law debt

        PNK (Lake Charles), LLC                      Plaintiff alleges                14th Judicial District         pending
        d/b/a L'Auberge du Lac                       Defendant gave it                Court
        versus                                       checks which were                Calcasieu Parish,
        George and Holly Moufarje                    refused by the                   Louisiana
                                                     drawee bank, due to
                                                     nonsufficient funds

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 40 of 50
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
   In re:   George Hanna Moufarej                                                                 Case No.
            Dolly Nadia Demian                                                                                            (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 2



       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
        DESCRIPTION AND VALUE                      LOSS WAS COVERED IN WHOLE OR IN PART
        OF PROPERTY                                BY INSURANCE, GIVE PARTICULARS                                             DATE OF LOSS
        $54,000 cash                               gambling losses in Louisiana                                               2013 - 2014

        $25,000 cash                               gambling in Nevada                                                         2013-2014

       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Patrick T. Williams, Attorney at Law                         February 27, 2015                $3,500
        4422 FM 1960 West, Suite 412                                 Natalie Mufarrige
        Houston, TX 77068                                            16131 Stewarts Grove
                                                                     Dr.
                                                                     Spring, TX 77379

        Access Counseling, Inc.                                      March 2, 2015                    $16
        633 W. 5th Street
        Suite 26001
        Los Angeles, CA 90071
                      Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 41 of 50
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
   In re:   George Hanna Moufarej                                                                  Case No.
            Dolly Nadia Demian                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 3



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

        NAME AND ADDRESS OF TRANSFEREE,                                                       DESCRIBE PROPERTY TRANSFERRED
        RELATIONSHIP TO DEBTOR                                        DATE                    AND VALUE RECEIVED
        Leme Properties                                               August 14,              house: 5707 Havenwoods Dr.
                                                                      2013                    Houston, TX 77066 sold for $96,000

        Solid Gold Jewelers                                           December 2013           sold two guns & various pieces of
        5315 F.M. 1960 Rd. W., Suite F                                                        jewelry for $1,995
        Houston, TX 77069

        Solid Gold Jewelers                                           January 2014            sold various pieces of jewelry for
        5315 F.M. 1960 Rd. W., Suite F                                                        $2,600.
        Houston, TX 77069

        Solid Gold Jewelers                                           February 2015           sold various pieces of jewelry for
        5315 F.M. 1960 Rd. W., Suite F                                                        $1,480
        Houston, TX 77069

        unknown                                                       2013 through            sold miscellaneous pieces of
                                                                      2014                    furniture to individuals for a total of
                                                                                              approximately $2,150.

       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
                                                                      TYPE OF ACCOUNT, LAST FOUR
                                                                      DIGITS OF ACCOUNT NUMBER,                 AMOUNT AND DATE OF
        NAME AND ADDRESS OF INSTITUTION                               AND AMOUNT OF FINAL BALANCE               SALE OR CLOSING
        Wells Fargo Bank                                              checking account no.                      closed 02/10/2015 with
        7344 Louetta Rd.                                              xxxx1333 owned by Dolly                   no balance in account.
        Spring, TX 77379                                              Demian

        Wells Fargo Bank                                              joint checking account no.                closed with balance of
        10910 Louetta Rd.                                             xxxx1921 owned by Debtors                 $0.01
        Houston, TX 77070

       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                      Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 42 of 50
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   George Hanna Moufarej                                                                   Case No.
            Dolly Nadia Demian                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 4



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
                      Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 43 of 50
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
   In re:   George Hanna Moufarej                                                                   Case No.
            Dolly Nadia Demian                                                                                              (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 5



       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                         BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                      NATURE OF BUSINESS                             DATES

        CAJ Auto Finance                                             used car sales                                 July 2014 to present
        15803 Tomball Pkwy
        Houston, TX 77086

        C & J Auto Finance                                           used car sales                                 1998 - 2012
        15803 Tomball Pkwy
        Houston, TX 77086

        A-1 Auto Finance                                             financing cars for dealers                     2009 - 2013
        15803 Tomball Pkwy
        Houston, TX 77086

        Dolly Demian                                                 tutoring                                       November 2014 to
        16131 Stewarts Grove Dr.                                                                                    present
        Spring, TX 77379

        George Moufarej                                              found cars for car dealers, and                January 2014 to July
        15803 Tomball Pkwy.                                          facilitated the transactions for a             2014
        Houston, TX 77086                                            fee.

        George Moufarej                                              contracted with Medford Motors to              March 2012 through
        15803 Tomball Pkwy.                                          sell cars on a commissions basis.              December 2013
        Houston, TX 77086

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
                      Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 44 of 50
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   George Hanna Moufarej                                                                     Case No.
            Dolly Nadia Demian                                                                                                 (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 6



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.
                      Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 45 of 50
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   George Hanna Moufarej                                                                     Case No.
            Dolly Nadia Demian                                                                                                (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 7



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 46 of 50
B7 (Official Form 7) (04/13)              UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
   In re:   George Hanna Moufarej                                                        Case No.
            Dolly Nadia Demian                                                                                (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 8



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 4/30/2015                                                 Signature        /s/ George Hanna Moufarej
                                                               of Debtor        George Hanna Moufarej

Date 4/30/2015                                                 Signature       /s/ Dolly Nadia Demian
                                                               of Joint Debtor Dolly Nadia Demian
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
                     Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 47 of 50
  B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
  IN RE:     George Hanna Moufarej                                                         CASE NO
             Dolly Nadia Demian
                                                                                           CHAPTER       7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                               Describe Property Securing Debt:
 Capital One Auto Finance                                                       2013 BMW 328
 3901 Dallas Pkwy
 Plano, TX 75093-7864
 xxxxxxxxx3176




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


 Property No.   2

 Creditor's Name:                                                               Describe Property Securing Debt:
 Wells Fargo Home Mortgage                                                      house: 16131 Stewarts Grove Dr. Spring, TX 77379
 P.O. Box 10335
 Des Moines, IA 50306-0335




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt
                      Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 48 of 50
  B 8 (Official Form 8) (12/08)

                                        UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION
  IN RE:    George Hanna Moufarej                                                   CASE NO
            Dolly Nadia Demian
                                                                                    CHAPTER      7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                       Continuation Sheet No. 1

PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.     1
 Lessor's Name:                                       Describe Leased Property:                      Lease will be Assumed pursuant to
 None                                                                                                11 U.S.C. § 365(p)(2):

                                                                                                     YES              NO
                    Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 49 of 50
  B 8 (Official Form 8) (12/08)

                                       UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION
  IN RE:    George Hanna Moufarej                                                  CASE NO
            Dolly Nadia Demian
                                                                                   CHAPTER      7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                     Continuation Sheet No. 2

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 4/30/2015                                            Signature    /s/ George Hanna Moufarej
                                                                      George Hanna Moufarej




Date 4/30/2015                                            Signature    /s/ Dolly Nadia Demian
                                                                      Dolly Nadia Demian
                   Case 15-32367 Document 1 Filed in TXSB on 05/01/15 Page 50 of 50
                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
IN RE:     George Hanna Moufarej                                                          CASE NO
           Dolly Nadia Demian
                                                                                         CHAPTER      7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                               Fixed Fee:          $3,500.00
     Prior to the filing of this statement I have received:                                         $3,500.00
     Balance Due:                                                                                         $0.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)
                                               Natalie Mufarrige

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Adversary proceedings filed by creditors, the Chapter 7 trustee, or the U.S. Trustee.
   Motions to Dismiss filed by creditors, the Chapter 7 trustee, or the U.S. Trustee.
   Examinations requested under Rule 2004 of the Bankruptcy Rules.
   Motions to Deny discharge under Section 727, or any other section of the Bankruptcy Code.
   Motions to Deny Discharegeability of a debt under Section 523, or any other section of the Bankruptcy Code.
   Any legal services not specified in paragraph 5 of this document.


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                       4/30/2015                              /s/ Patrick T. Williams
                         Date                                 Patrick T. Williams                        Bar No. 00789729
                                                              Patrick T. Williams, Attorney at Law
                                                              4422 F.M. 1960 W., Suite 412
                                                              Houston, TX 77068
                                                              Phone: (281) 587-2823 / Fax: (281) 537-9025




      /s/ George Hanna Moufarej                                            /s/ Dolly Nadia Demian
     George Hanna Moufarej                                                Dolly Nadia Demian
